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UNITED STATES DISTRICT COURT
                                                                          ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
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                                                                          DATE FILED: 10/30/2020
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 UNITED STATES OF AMERICA,                                     :
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                              -against-                        :
                                                               :             1:20-cr-217-GHW
 HEBERTO EMIRO ACEVEDO MOLINA and :
 MIGUEL ANGEL RAMIREZ LAURENS,                                 :                ORDER
                                                               :
                                              Defendants. :
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GREGORY H. WOODS, United States District Judge:

        On October 26, 2020, Defendant Herberto Emiro Acevedo Molina entered a guilty plea as

to Count I of the Indictment in this matter. Consequently, the hearing scheduled to occur on

December 8, 2020, the pretrial conference scheduled to occur on January 21, 2021, and the trial

scheduled to begin on February 8, 2021, are adjourned sine die.

        SO ORDERED.

Dated: October 30, 2020
New York, New York
                                                                   __________________________________
                                                                          GREGORY H. WOODS
                                                                         United States District Judge
